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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )             8:07CR419
                       Plaintiff,                   )
                                                    )
       vs.                                          )             ORDER
                                                    )
FIDEL LOPEZ-HUERTA and                              )
GUSTAVO PEREZ-ROJO,                                 )
                                                    )
                       Defendants.                  )
       This matter is before the court on the motion for an extension of time by defendant
Gustavo Perez-Rojo (Perez-Rojo) (Filing No. 21). Perez-Rojo seeks a thirty-day extension
of time in which to file pretrial motions pursuant to paragraph 3 of the progression order
(Filing No. 11). Defense counsel represents to the court that counsel for the government
has no objection to the extension. Perez-Rojo has filed an affidavit wherein Perez-Rojo
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act (Filing No. 20).               Upon
consideration, the motion will be granted. Furthermore, the extension of the pretrial motion
deadline will apply to all defendants in this matter.
       IT IS ORDERED:
       Defendant Perez-Rojo's motion for an extension of time (Filing No. 21) is granted.
All defendants are given until on or before March 23, 2008, in which to file pretrial motions
pursuant to the progression order (Filing No. 11). The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between February 13, 2008 and March 23, 2008, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason
defendants’ counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 13th day of February, 2008.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
